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                Exhibit 3
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                                                              EXHIBIT 3
                                             CHART OF DISPUTED REQUESTS FOR PRODUCTION

    Spec.         Specification
                                                Gartner Response                 DOJ’s Proposal               Gartner’s Proposal             Court’s Decision
     No.       (Disputed Material)
            Documents sufficient to          Gartner objected to the         The United States              Gartner’s position is
            show each of the                 request on, among               informed Gartner that it       that this information is
            Elements of                      other grounds, that it is       would accept a more            irrelevant and the
            Compensation Value,1             “overly broad and               limited time period            burden to Gartner of
            separately and in the            unduly burdensome”;             (e.g. 2022 to the              producing this
            aggregate, received each         its time period is              Present) if it would           information far
            calendar year for the            “arbitrary, excessive,          resolve the impasse.           exceeds the benefit to
            period 2019 through 2024         and overbroad”; and it          Gartner has not                the government.
            from or on behalf of             is “unreasonably                represented that it            Further, this
     1.
            HPE.                             cumulative and                  would be feasible to           information, to the
                                             duplicative of                  limit its response to          extent that it is
                                             discovery already               services related to            necessary, should be
                                             sought and/or obtained          WLAN, but the United           sought from the
                                             in this case.” Subject to       States would also              parties.
                                             those objections,               accept that limitation.
                                             “Gartner [was] willing
                                             to meet and confer on
                                             this Request.”




1
 The Subpoena defines “Elements of Compensation Value” as (1) “Payments for subscriptions”; (2) “Payments for reprints”; (3) “Payments for consultation services
and costs”; (4) “Payments for conference fees and costs”; (5) “Payments for in-person or virtual meetings and presentations”; (6) “Payments for gifts, including gifts
of seats or tables at events for business, charity, entertainment or any other purpose”; and (7) “All other compensation of any kind not included in Elements 1 through
6 above, whether by the receipt of monetary payment or in-kind delivery of goods and services of monetary value.”
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     Documents sufficient to    Gartner objected to the     The United States          Gartner’s position is
     show each of the           request on, among           informed Gartner that it   that this information is
     Elements of                other grounds, that it is   would accept a more        irrelevant and the
     Compensation Value,        “overly broad and           limited time period        burden to Gartner of
     separately                 unduly burdensome”;         (e.g. 2022 to the          producing this
     and in the aggregate,      its time period is          Present) if it would       information far
     received each calendar     “arbitrary, excessive,      resolve the impasse.       exceeds the benefit to
     year for the period 2019   and overbroad”; and it      Gartner has not            the government.
     through 2024 from or on    is “unreasonably            represented that it        Further, this
2.
     behalf of                  cumulative and              would be feasible to       information, to the
     Juniper.                   duplicative of              limit its response to      extent that it is
                                discovery already           services related to        necessary, should be
                                sought and/or obtained      WLAN, but the United       sought from the
                                in this case.” Subject to   States would also          parties.
                                those objections,           accept that limitation.
                                “Gartner [was] willing
                                to meet and confer on
                                this Request.”
     Documents sufficient to    Gartner objected to the     The United States          Gartner’s position is
     show each of the           request on, among           informed Gartner that it   that this information is
     Elements of                other grounds, that it is   would accept a more        irrelevant and the
     Compensation Value,        “overly broad and           limited time period        burden to Gartner of
     separately and in the      unduly burdensome”;         (e.g. 2022 to the          producing this
     aggregate, received each   its time period is          Present) if it would       information far
     calendar year for the      “arbitrary, excessive,      resolve the impasse.       exceeds the benefit to
     period 2019 through 2024   and overbroad”; and it      Gartner has not            the government.
     from or on behalf of       is “unreasonably            represented that it
3.
     Cisco.                     cumulative and              would be feasible to
                                duplicative of              limit its response to
                                discovery already           services related to
                                sought and/or obtained      WLAN, but the United
                                in this case.” Subject to   States would also
                                those objections,           accept that limitation.
                                “Gartner [was] willing
                                to meet and confer on
                                this Request.”
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     Documents sufficient to       Gartner objected to the     The United States          Gartner’s position is
     show each of the              request on, among           informed Gartner that it   that this information is
     elements of                   other grounds, that it is   would accept a more        irrelevant and the
     Compensation Value,           “duplicative, overly        limited time period        burden to Gartner of
     separately and in the         broad and unduly            (e.g. 2022 to the          producing this
     aggregate, received each      burdensome”; it is          Present) if it would       information far
     calendar year for the         irrelevant; its time        resolve the impasse and    exceeds the benefit to
     period 2019 through 2024      period is “arbitrary,       would limited the          the government.
     from or on behalf of          excessive, and              vendors covered by the
     in the aggregate, all firms   overbroad”; and it is       request to Defendants
     that sell wireless local      “cumulative and             and six other WLAN
     area networking               duplicative of              vendors (Arista, Cisco,
     hardware, software, and       discovery already           CommScope, Extreme,
     any Relevant Product.         sought and/or obtained      Fortinet, and Ubiquiti).
     Each such firm includes       in this case.” Subject to   Gartner has not
     for the purpose of this       those objections,           represented that it
     Specification the firm’s      “Gartner [was] willing      would be feasible to
4.   domestic and foreign          to meet and confer on       limit its response to
     parents, predecessors,        this Request.”              services related to
     divisions, subsidiaries,                                  WLAN, but the United
     affiliates, partnerships                                  States would also
     and joint ventures, and all                               accept that limitation.
     directors, officers,
     employees, agents, and
     representatives of the
     foregoing. The terms
     “parent,” “subsidiary,”
     “affiliate,” and “joint
     venture” refer to any
     person in which there is
     partial (25 percent or
     more) or total ownership
     or control between such
     firm and any other
     person.
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     Documents sufficient to      Gartner objected to the     The United States          Gartner’s position is
     show each of the             request on, among           informed Gartner that it   that this information is
     Elements of                  other grounds, that it is   would accept a more        irrelevant and the
                                                                                         burden to Gartner of
     Compensation Value,          “duplicative, overly        limited time period        producing this
     separately and in the        broad and unduly            (e.g. 2022 to the          information far
     aggregate, received each     burdensome”; it is          Present) if it would       exceeds the benefit to
     calendar year for the        irrelevant; its time        resolve the impasses.      the government.
     period 2019 through 2024     period is “arbitrary,       Gartner has not            Further, this
     from or on behalf of         excessive, and              represented that it        information is
     Hewlett or Juniper in        overbroad”; and it is       would be feasible to       duplicative and
                                                                                         cumulative of requests
     connection with work         “cumulative and             limit its response to      1 and 2.
5.
     performed by Timothy         duplicative of              services related to
     (“Tim”) Zimmerman,           discovery already           WLAN, but the United
     who serves, or has served,   sought and/or obtained      States would also
     as an officer, employee or   in this case.” Subject to   accept that limitation.
     other representative of      those objections,
     your Company in              “Gartner [was] willing
     connection with your         to meet and confer on
     Company’s dealings with      this Request.”
     firms engaged in WLAN,
     network infrastructure
     and related businesses.
